        Case 4:24-cr-00298 Document 50 Filed on 09/19/24 in TXSD Page 1 of 3




                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA,                      '
                                               '
                                               '
               v.                              ' Criminal Action No: 4:24-cr-00298
                                               '
EITHAN DAVID HAIM                              '


               GOVERNMENT'S RESPONSE TO DEFENDANT’S
                     MOTION FOR SHOW CAUSE

TO THE HONORABLE DAVID HITTNER:

         The defendant filed a motion for show cause regarding undersigned counsel’s

suspended law license on September 18, 2024. The Grand Jury returned a true bill

on this case on May 29, 2024. Undersigned counsel’s bar license expired on

September 1, 2024 due to lack of payment. As of September 19, 2024, undersigned

counsel’s bar license is now active with the State Bar of Texas. Undersigned counsel

changed addresses and as a result failed to get the usual reminder notice in the mail.

Undersigned counsel unintentionally failed to pay bar dues, which have now been

paid.

         Additionally, the only filing done during this 19-day time frame was Response

to Defendant’s Motion for Continuance (Dkt. No. 35). This response was also filed

with the prosecution team, Assistant United States Attorneys Jessica Feinstein and
                                           1
    Case 4:24-cr-00298 Document 50 Filed on 09/19/24 in TXSD Page 2 of 3




Tyler White, both who had active bar licenses at the time of the filing.

Finally, undersigned Counsel will re-file the government’s Response to

Defendant’s Motion for Continuance (Dkt. No. 35).



        In Conclusion, Government respectfully requests this Honorable

Court to deny the defendant’s request for show cause and any additional sanctions.




                                            Respectfully submitted,

                                            ALAMDAR HAMDANI
                                            United States Attorney
                                            Southern District of Texas

                                     By:    s/ Tina Ansari_______
                                            Tina Ansari
                                            Assistant United States Attorney
                                            1000 Louisiana Street, 25th Floor
                                            Houston, Texas 77002
                                            Tel.: (713) 567-9000




                                        2
Case 4:24-cr-00298 Document 50 Filed on 09/19/24 in TXSD Page 3 of 3




                                 3
